Case 2:05-cV-02307-.]PI\/|#Cgc Document 34 Filed 08/19/05 Pege 1 of 6' ' Page|D` 23

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UNITED sTATEs DISTRICT coURT M?; §§TE§RG¢¢OTMDM

FoR THE wEsTERN merch on TENNESSEE CLE,W @; \_|;MMS
WESTERN DIvIsloN
CARRIER CORPORATION
Plaimiff,
v. § cwn. No. 2:05-cv-2307-M1/v
PAUL P. PH>ER, JR, ET AL. t

Defendants.

-l~-1

__ ___'? CONSENT RULE 16 SCHEDULING ORDER

At a meeting held via teleconference on August 9, 2005, the parties agreed to and now
jointty request that the Court enter the following Rule l6(b) Scheduling Order on consent in the
above-captioned matter:

Initial Disclosures Pursnant to Fed. R. Civ. P. 26(3)(1): September 26, 2005
Joining Parties: October 24, 2005
Amendiog Pleadings: October 24, 2005
Initial Motions to Dismiss: Novernber 23, 2005
Completion of Fact Discovery: June 26, 2006
Completion of Expert Discovery:
a. Plaintiff’s Expert Disclosures: February 27, 2006
b. Defendants’ Expert Disclosures: Apri126, 2006
c. Expert Depositions: June 26, 2006

. Dispositive Motions: August 18, 2006

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' Th!s document entered on the docket sheet |n com |iant:e
with Flule 58 and,'or 79(3) FRCP on ’ § “0 ' 34

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Trial Date: October 23, 2006
OTHER RELEVANT MA'I‘TERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance ofthe discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

Plaintiff has requested a jury trial, and, at this time, the Plaintiff estimates that the trial
may last 45 -60 days. Thc Defendants have not agreed to this estimate In fact, counsel for the
Defendants, Paul P. Piper Jr., individually and executor of the estate of Paul P. Piper, Sr.; Piper
Industrial Coatings, Inc.; Piper Mini-Storage Inc.; Piper Industries lnc.; Claudia B. Piper,
individually and as trustee for Annette Allison Piper, Paul Gordon Piper and Ronald K. Piper,
Jr.; Annette Piper Sandstrom; Paul Gordon Piper; and Ronald K. Piper Jr., estimates that the trial
Will last 1-2 chks.

The pretrial order date, pretrial conference date, and trial date will be set by the presiding -
judge

This case is appropriate for ADR.. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

'I'he parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60, shall be accompanied by a proposed
order.

The opposing party may file a response to any motion filed in this matter. No party may
file an additional reply, however, Without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to_ file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

At this time, all of the parties have not consented to trial before the magistrate judge

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This order has been entered after consultation
Absent good cause shown, the scheduling
extended

With trial counsel pursuant to nctice.
dates set by this order Will not be modiEed or

IT IS SO ORDERED.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Date: LZL€?M /7/@7”0`§-

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This notice confirms a copy of the document docketed as number 34 in
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